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NOT FOR PUBLICATION                                       [Dkt. Ent. 131]

                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
                             CAMDEN VICINAGE


UNITED STATES OF AMERICA,
                                        Crim. No. 11-cr-00783-RMB-2
            v.
                                        OPINION
SHAWN L. CANNON,



      Before the Court is a motion to withdraw the plea agreement

and enter an open plea agreement filed by Defendant Shawn L.

Cannon (the “Defendant”). (Dkt. Ent. 131.) On September 12, 2012

Defendant pled guilty to Counts One and Two of the Superseding

Indictment pursuant to a written plea agreement. (Dkt. Ents. 74,

75.) On May 30, 2013, the Court sentenced Defendant to 240

months’ imprisonment on Count One and 290 months on Count Two,

served concurrently, and five years of supervised release. (Dkt.

Ent. 124.) Defendant filed a notice of appeal on June 12, 2013,

and on October 28, 2013, the Third Circuit granted the

Government’s motion to enforce the appellate waiver and

summarily dismissed the appeal thereby affirming Defendant’s

conviction and sentence. (Dkt. Ents. 125, 140.) While that

appeal was pending, however, Defendant filed the instant motion.

      Under Federal Rule of Criminal Procedure 11, “[a] defendant

may withdraw a plea of guilty or nolo contendere: (1) before the

court accepts the plea, for any reason or no reason; or (2)
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after the court accepts the plea, but before it imposes

sentence . . . .” Once a court imposes sentence, however,

“defendant may not withdraw a plea of guilty or nolo contendere,

and the plea may be set aside only on direct appeal or

collateral attack.” Fed. R. Crim. P. 11(e). Here, Defendant

filed his motion to withdraw his guilty plea nearly three months

after this Court imposed its sentence. He also appealed his

sentence to the Third Circuit to no avail. Accordingly, this

Court is without authority to grant Defendant’s motion. See

United States v. D’Alfonso, 397 F. App’x 754, 756 (3d Cir. 2010)

(affirming district court’s determination that it could not set

aside defendant’s guilty plea under Rule 11(e)); United States

v. Ward, 760 F. Supp. 2d 480, 483 (D.N.J. 2011) (“[Rule 11] also

states that ‘[a]fter the court imposes sentence, the defendant

may not withdraw a plea of guilty or nolo contendere, and the

plea may be set aside only on direct appeal or collateral

attack,’ Fed. R. Crim. P. 11(e). Because Ward has already filed

an appeal and a collateral attack to no avail, the Court may not

set aside the defendant’s guilty plea based on this rule.”

(quoting D’Alfonso, 397 F. App’x at 756)); United States v.

Hough, No. 02-cr-649, 2011 U.S. Dist. LEXIS 26645, at *5 (D.N.J.

March 15, 2011) (same).




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      FOR THESE REASONS,

      IT IS on this 10th day of March 2014 hereby

      ORDERED that the Clerk of the Court shall REOPEN this

matter for purposes of deciding the instant motion; and it is

further

      ORDERED that Defendant’s motion to withdraw his plea

agreement is DENIED; and it is further

      ORDERED that the Clerk of the Court shall CLOSE the file in

this matter.



Date: March 10, 2014

                                   s/Renée Marie Bumb
                                   RENÉE MARIE BUMB
                                   UNITED STATES DISTRICT JUDGE




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